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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00014-PAB

UNITED STATES OF AMERICA,

      Plaintiff,

v.

US V. DAVID TAYLOR, ET AL.

      Defendants,

______________________________________________________________________

         ORDER TO UNRESTRICT SEARCH WARRANTS IN THE CASE
______________________________________________________________________

      THIS MATTER coming before the Court upon motion of the Government to

unrestrict the restricted search warrant documents related to the case numbers listed in

Attachment A, and the Court having considered the same,

      IT IS HEREBY ORDERED that the restricted search warrants listed in

Attachment A related to this case be unrestricted and viewable by the public.

      IT IS SO ORDERED on this              day of June, 2021.

                                         BY THE COURT:



                                         THE HON. PHILLIP A. BRIMMER
                                         UNITED STATES DISTRICT COURT JUDGE
                                         DISTRICT OF COLORADO
